      Case 15-41394-TLS         Doc 50    Filed 09/28/20     Entered 09/28/20 10:29:27       Desc Main
                              IN THE UNITED STATES BANKRUPTCY
                                       Document    Page 1 of 1 COURT
                                   FOR THE DISTRICT OF NEBRASKA

IN THE MATTER OF:                                        ) BK. NO. 15-41394-TLS
                                                         )
CYNTHIA D. MIX                                           ) CHAPTER 13
                             SSN: ###-##-8580            )
                                                         )
                                                         )
                                                         )
Debtor.
                                    NOTICE OF FINAL CURE PAYMENT

Pursuant to Fed. Bankr. Rule 3002.1(g), the Trustee files Notice that the amount required to cure the default on
the below claim has been paid in full and the Debtor has completed payments under the Plan.

Name of Creditor: Ft171 LLC

Account number from claim: 6544

Amount of Prepetition Arrears per claim: $17,567.93

Amount paid by Trustee: $17,567.93 (principal) and $5,903.82 (Interest)

Within 21 days of the service of this Notice, the creditor must file and serve same on the debtor, debtor's
counsel and the Trustee, pursuant to Fed. Bankr. Rule 3002.1(g), a statement indicating (1) whether it agrees
that the debtor has paid in full the amount required to cure the default on the claim and (2) whether the debtor
is otherwise current on all payments consistent with § 1322(b)(5) of the Code. The statement must itemize the
required cure or post-petition amounts, if any, that the creditor contends remain unpaid as of the date of the
statement. The statement should be filed as a supplement to the creditor’s proof of claim. Failure of the
creditor to file this statement may result in the court taking further action as specified in Fed. Bankr. Rule
3002.1(i).

       DATED: September 28, 2020

                                                    /s/ Kathleen A. Laughlin
                                                    Chapter 13 Trustee
                                                    13930 Gold Circle, #201
                                                    Omaha, NE 68144
                                                    (402) 697-0437
                                                    1-800-884-0437

                                         CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the NOTICE OF FINAL CURE PAYMENT was
served on April Marty Lewis, debtor's attorney, via the CM/ECF system of the United States Bankruptcy Court
and a copy was mailed on September 28, 2020, by first-class, U.S. mail, postage prepaid to the Debtor and
Creditor at the address listed below:

CYNTHIA D. MIX                     SOTTILE & BARILE, LLC                 FT171 LLC
2532 S 8TH ST                      394 WARDS CORNER ROAD #180            C/O SN SERVICING CORPORATION
LINCOLN, NE 68502                  LOVELAND, CO 45140                    323 5TH STREET
                                                                         EUREKA, CA 95501


                                                    s/Kathleen A. Laughlin
                                                    Kathleen A. Laughlin
